Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 1 of 81




                         Exhibit A
         Case 1:21-cr-10256-IT       Document 284-1        Filed 03/04/25      Page 2 of 81




                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 UNITED STATES

    v.
                                                       No. 1:21-cr-10256-IT
 KINGSLEY R. CHIN and
 ADITYA HUMAD,
     Defendants.


DEFENDANTS’ [Proposed] REPLY IN SUPPORT OF THEIR MOTION TO CONTINUE
      TRIAL AND FOR HEARING CONCERNING BRADY VIOLATIONS

         Defendants Kingsley Chin and Aditya Humad respectfully submit this Reply in support of

their request for a continuance to prepare for trial on the government’s ever-changing theories and

for an evidentiary hearing about whether the government’s late production of a mountain of Brady

material resulted from outrageous government conduct that warrants dismissal of the remaining

charges.

         In light of delayed productions, material changes to the charges, and specious positions the

government has taken, and maintains in its Opposition, neither the defense nor the Court can have

confidence that the government appreciates, much less has fulfilled, its Brady obligations. For

example, exculpatory “attorney advocacy” – which comprises only a portion of the late disclosures

Defendants identified – is Brady material. And the government’s late and ongoing production of

agent notes is not merely an act of prosecutorial grace where, as here, those notes are inconsistent

with and contain exculpatory information absent from earlier-produced interview reports.

         Moreover, as explained below, efforts by the government to dismiss charges and the late

production of Brady material have continued even after the defendants filed their motion. The

government’s case has materially changed and, if the Court permits it to go forward at all,
      Case 1:21-cr-10256-IT         Document 284-1        Filed 03/04/25      Page 3 of 81




defendants need additional time to adapt and prepare. For example, the defendants need time to

work with an expert witness whose testimony could now address the enormous value of intellectual

property, including patents, which flowed from the consulting program, especially as compared to

the modest amount of allegedly improper payments from that program.

                          Key Flaws in the Government’s Opposition

       Rather than address the prejudice that defendants described in their moving papers

concerning the need to change their preparation for trial, in its Opposition, the government

responds superficially about how the mountain of late Brady material can inform targeted cross-

examination in a narrowed case. See Opposition at 8 (“the differences are cross-examination

material”), 10 (“the government has significantly narrowed and streamlined its case-in-chief”). As

defendants recently uncovered gaps in Brady material, however, the government sought the

dismissal of count after count after count of the Indictment, along with dismissing the corporate

defendant at the core of this case, SpineFrontier. In doing so, the government has disavowed the

Indictment, as returned by the Grand Jury, that expressly alleged that that SpineFrontier’s

consulting program was a “sham” in its entirety, which defendants “designed” to pay bribes; that

IME was also a “sham”; and that SpineFrontier concealed its crimes by failing to make Sunshine

Act disclosures, even though it fully and publicly disclosed all the payments ever at issue.

       When the government argues that the defendants can now simply conduct cross-

examinations in a narrowed case, the government disregards the defendants’ constitutional rights

to due process and their need to build defenses to what amounts to a materially different case. See

United States v. Conley, 415 F.3d 183, 188 (1st Cir. 2005) (“[T]he government’s suppression of

evidence favorable to the accused violates due process where the evidence is material to guilt.”)

(citing Brady v. Maryland, 373 U.S. 83, 87 (1963))). Tellingly, the government does not and cannot




                                                 2
       Case 1:21-cr-10256-IT         Document 284-1         Filed 03/04/25      Page 4 of 81




deny that, over the past several weeks, it has made ongoing and massive late productions of Brady

material, including after the defendants filed this motion. Most recently, even after defendants filed

their motion for a continuance, the government produced additional large volumes of agent notes

corresponding to earlier-produced reports of interviews, which it had withheld even from its

January and early February productions of notes. Some of these notes, produced as late as February

22, 2025, reveal striking inaccuracies in the earlier-produced reports, including omissions of

exculpatory information that the witnesses provided during their interviews but that were left out

of the reports provided to defendants.

        The government may be right that the narrowed version of its case may shorten its list of

potential witnesses, but the new theories change dramatically how defendants must defend

themselves and are now preparing to do so. For example, in the Indictment that the Grand Jury

returned, the total amount of payments to surgeons identified as alleged co-conspirators

(“Surgeons 1 to 7”) exceeded $2.4 million. As the government has distanced itself from witnesses

who undermine their case and dismissed related counts, the total amount of payments to those

surgeons that remain at issue is approximately $500,000. Yet the consulting program’s feedback

that improved product innovation and patient care provided many millions of dollars in value,

reflected among other things in more than 50 relevant patents held by SpineFrontier or its affiliates.

Accordingly, the disparity between this appropriate value from innovations so far exceeds the

payments at issue that defendants are in the process of engaging Philip Green and Chris DeBaere

of Archway Research Group as expert witnesses to testify concerning the value of the technology

improvements and related patents to which the consulting program contributed. These expert

witnesses have stated they could have one of them prepared to testify by the July 21, 2025 tentative

date for a continued trial.




                                                  3
      Case 1:21-cr-10256-IT         Document 284-1        Filed 03/04/25      Page 5 of 81




       Remarkably, despite compromising the defendants’ ability to defend themselves, the

government minimizes the impact of its delayed productions and disregards the outrageous threats

and pressure used on witnesses to build this case, which otherwise did not exist, and which is being

reflected in the government’s now attempting to side-line certain witnesses who were the subjects

of specific substantive counts in the Indictment. The government insists, even now, that plainly

exculpatory information, such as statements by some alleged co-conspirators (or their counsel)

that they did not knowingly participate in any criminal activity and evidence about the

circumstances under which other alleged co-conspirators avoided any criminal charges, reached

civil settlements, and became cooperating witnesses against the defendants, is not Brady material

that the government must disclose—and should have disclosed years ago. It has similarly refused

to agree to a continuance that would allow defendants to prepare an expert witness who can address

matters that are now newly relevant because of the government’s recent changes to the charges.

                                            Discussion

I.     A Continuance Is the Only Reasonable Alternative to a Dismissal Based on the
       Government’s Late Brady Disclosures and Remaining Gaps in Such Productions.

       Defendants’ motion detailed extensive amounts of late-disclosed Brady material, most of

which the government had available to it even before its October 2021 deadline for disclosure, but

chose to hold until weeks before trial. The late-disclosed Brady material has continued to come in

even since defendants filed their motion. The most recent productions reveal particularly

pernicious disclosure failures, in that they exposed that the government had earlier provided

misleading reports of what witnesses would say.

       In their opening brief, defendants pointed out that the government had withheld agent notes

for approximately 20 interviews of witnesses for which it had earlier produced reports. On Friday,

February 22, 2025, the government produced notes for most of those reports. Several of the notes



                                                 4
      Case 1:21-cr-10256-IT         Document 284-1         Filed 03/04/25      Page 6 of 81




reveal that the reports were highly misleading in multiple respects. For example, one of the

remaining substantive counts charging a violation of the Anti-Kickback Statute concerns Dr. John

Atwater. On February 22, 2025, the government produced notes of a 2019 interview of Dr. Atwater,

apparently taken by an FBI agent who (approximately a month after the interview) prepared the

report of the interview that the government had earlier produced to defendants. A comparison

reveals extraordinary inconsistencies between the contemporaneous notes, which were withheld

until February 22, and later report. Indeed, given the obvious exculpatory nature of much of what

was omitted from the report, it is difficult to view the discrepancies as other than an intentional

effort by the agent to leave out information that would help the defense. Some of the most

egregious discrepancies include (but are by no means limited to) the following:

              Dr. Atwater identified his consulting agreement with SpineFrontier, and the
               notes reflect him saying “did not affect reason to use SF,” and “opportunity
               to try new products and potentially to design new products was why used
               SF.” (Exhibit A hereto, at 5 (emphases added).) Those statements were
               omitted from the agent’s report that had been provided to defendants. (See
               Exhibit B hereto.)

              The notes reflect Dr. Atwater telling the government: “Was sold on SF by
               KC/Not consulting & management.” (Exhibit A, at 9.) This statement that
               Dr. Chin did not use the SpineFrontier consulting agreement when “selling”
               SpineFrontier to Dr. Atwater was omitted from the agent’s report. In fact,
               removing the exculpatory portion of what Dr. Atwater said, the report stated
               only that “Chin sold him on the idea of evaluating SF products.” (Exhibit B
               hereto, at 5.)

              Both the notes and the report describe involvement by Dr. Atwater’s
               counsel, Greg Hunzinker, in an agreement for surgical-support services
               between SpineFrontier and a company that Dr. Atwater owns called
               YEHSS, in a manner that attempts to blame others for problems that Dr
               Atwater reports with that agreement. The notes reflect that Dr. Atwater, at a
               different point in the interview, told the government that Hunzinger was also
               asked to review the IME consulting agreement between SpineFrontier and
               Dr. Atwater that is actually at issue in this case, and that “Hunziker approved
               agreement. Oct 8 2013” (Exhibit A, at 9 (emphasis added).) Hunziker’s
               approval of the consulting agreement was omitted entirely from the report
               of the interview.



                                                 5
      Case 1:21-cr-10256-IT       Document 284-1         Filed 03/04/25      Page 7 of 81




             The notes reflect that Dr. Atwater told the government, when discussing the
              IME agreement, that he “understood that you could not simply bill 2 hrs for
              just doing a surgery.” (Id. at 9.) That admission by Dr. Atwater that he was
              acting contrary to the requirements of his agreement with IME was omitted
              from the report.

             In an exchange about whether Dr. Atwater knew at the time of his conduct
              that he was doing something wrong, or whether he realized it only after the
              fact – which is relevant, of course, to whether he was knowingly
              participating in criminal activity as a co-conspirator, as the government
              charges – the notes reflect inconsistencies in his responses. They report,
              “Didn’t realize until after KB [Kyle Black] left that should have been giving
              more feedback. Realized in hindsight it was wrong. Now Knows it was
              wrong/also knew it was wrong at time.” (Exhibit A, at 11-12 (emphases
              added).) The report omitted Dr. Atwater’s statements to the effect that he
              did not know he was doing something wrong until after the fact and in
              hindsight, including only “He knew it was wrong at the time and continued
              to submit the hours.” (Exhibit B, at 6.)

             The notes reflect that at several points in the interview, Dr. Atwater stated
              that he viewed the problem with his consulting as one of “documentation.”
              For example, the notes say, “SF consulting was not thoroughly
              documented. Feels bad that it happened. They only cared about him
              submitting hours. Had to know he wasn’t documenting appropriately.”
              (Exhibit A, at 12 (emphases added).) The report of the interview included
              the statement about Dr. Atwater “feeling bad” and his opinion that
              SpineFrontier “had to know,” but without Dr. Atwater’s qualifications that
              he was discussing insufficient documentation: “SF had to know that Dr.
              Atwater was not providing appropriate feedback for the amount of
              consulting hours that he was being paid. Looking back, Dr. Atwater feels
              bad that this happened.” (Exhibit B, at 6.)

       By way of further examples, the government also produced on February 22, after

defendants filed their motion, other notes of interviews reflecting additional omissions of

exculpatory information from earlier-produced reports of interviews. The recently produced notes

about another interview of Dr. Atwater the following year, and an interview with another

government cooperating witness, Jason Montone revealed the following:

             In contrast to the government’s theory that defendants’ use of a surgical-
              support company owned by Dr. Atwater, YEHSS, was a form of kickback
              in kind by defendants to Dr. Atwater, because YEHSS billed more than the
              value of its services, an interview of Dr. Atwater suggested that Dr. Atwater
              saw overbilling by YEHSS as resulting from YEHSS’s failures to perform


                                                6
       Case 1:21-cr-10256-IT          Document 284-1         Filed 03/04/25       Page 8 of 81




                adequately, as opposed to an arrangement intended to serve as a kickback.
                For example, in the notes of the 2020 interview, Dr. Atwater described the
                issue of YEHSS charging too much for its services as resulting from the fact
                that YEHSS just “did not deliver” on what it had promised. (Exhibit C
                hereto, at 6.) In fact, that view of overpayments to YEHSS resulting from
                performance failures by YEHSS, rather than from knowing quid pro quos,
                came in the context of the government discussing with Dr. Atwater a
                particular document that can be better understood as exculpatory in light of
                Dr. Atwater’s explanation. Yet the report of the interview omitted not only
                that explanation, but left out entirely that the government and Dr. Atwater
                were discussing that particular document during the interview. (See Exhibit
                D hereto.)1

               Inconsistent with the government’s theory that Dr. Atwater conspired to
                accept consulting payments in exchange for his use of SpineFrontier
                products, the notes of his 2020 interview reflect him telling the government
                that he “still did some cases going forward,” even after he stopped
                consulting. (Exhibit C, at 10.) That statement does not appear in the earlier-
                provided report of the interview.

               With respect to Dr. Montone, another supposed co-conspirator,
                contemporaneous notes of one of his interviews included a statement that
                he “didn’t think it was [hospital] policy to require” disclosure of his
                consulting arrangement with SpineFrontier, which removes any suggestion
                that his non-disclosure to the hospital could itself reflect consciousness of
                wrongdoing. (Exhibit E hereto, at 4 (emphasis added).) In the report of the
                interview, however, which the agent drafted two weeks later, the agent
                changed that statement from what his contemporaneous notes say, to read
                instead that Dr. Montone “did not know if their policy required that
                disclosure” – a far less exculpatory version as to Dr. Montone’s mindset
                than the actual stated belief that it was not required. (Exhibit F hereto, at 2
                (emphasis added).)

               Dr. Montone, like Dr. Atwater, also apparently viewed problems with
                consulting as ones of paperwork, telling the government, according to the
                agent’s notes, that “Balzer [who handled reporting on consulting for Dr.
                Montone] not always good with paperwork.” (Exhibit E, at 9.) Similar to
                what the agent did with respect to Dr. Atwater and documentation, the agent
                left that statement out of the report that was earlier provided to defendants.

               The government reviewed with Dr. Montone categories of possible
                consulting activities set forth in his consulting agreement, with Montone
                reporting, according to the earlier-produced report, that he did not generally
                do the activities listed or provide meaningful consulting work, other than

        1
        The government’s recent disclosure of its intention to use at trial the arrangement with YEHSS as
supposed evidence of kickbacks in kind is the subject of a motion in limine. (See D.E. 251.)


                                                   7
        Case 1:21-cr-10256-IT             Document 284-1             Filed 03/04/25         Page 9 of 81




                  providing information that allowed SpineFrontier to modify certain
                  instruments for Montone’s own use (as described in the report, “to suit
                  MONTONE’s liking.” (Exhibit F, at 5.)) The recently produced notes,
                  however, reflect Montone having provided far more substantive work and
                  value, including him having said that he “Thinks he did participate in design
                  of SF products.” (Exhibit E, at 10.) That statement, too, was left out of the
                  report.

         By providing misleading reports of interviews conducted years ago, which varied from

contemporaneous notes of those interviews in the ways set forth above (and others), the

government buried such exculpatory information about two of the alleged co-conspirators whom

it still intends to call as witnesses at trial.

         All of the notes and reports discussed here were prepared by one particular FBI agent,

Terrence Dupont. Some of the changes from notes to reports are so blatant as to suggest that he

purposefully sought to omit or downplay exculpatory statements by the witnesses. In fact, Agent

Dupont was also responsible for several of the late-disclosed reports and notes of interviews

addressed in defendants’ opening papers. 2 Tellingly, the government has left Agent Dupont off its

witness list, in favor of other agents whom it intends to call as trial witnesses. The still-evolving

picture about the unreliability of earlier-produced reports of interviews now gives rise to the need

for defendants to conduct a close analysis of all of that particular agent’s notes compared to reports,



    2
      This 2019 interview of Dr. Atwater discussed above, and the discrepancies between the notes and the
report of that interview, are particularly telling in this regard in light of the fact that a different agent replaced
Agent Dupont mid-interview. (See Exhibit 2, at 1 (“SA Dupont left the interview part way through and the
remainder of the interview was documented by HHS OIG SA Meaghan Fleury.”).) As a result, there are two
separate sets of notes and two separate reports, covering the two separate parts of the 2019 Dr. Atwater
interview. Dr. Atwater apparently repeated some of the above-referenced exculpatory statements that he
made to Agent Dupont (but by no means all of them) during the second part of the interview that Agent
Dupont did not attend. The report and notes of the second part of the interview reflect, for example, Dr.
Atwater suggesting that he did not think he was doing anything wrong “at the time,” and that he believed
his failures were ones of “documentation.” The fact that the agent covering the second part included as
relevant such information – statements that defendants now know Dr. Atwater apparently offered multiple
times during different parts of the interview – further suggests that Agent Dupont acted intentionally in
choosing to omit such relevant and exculpatory statements when preparing his report of the first part of the
interview.


                                                          8
      Case 1:21-cr-10256-IT         Document 284-1         Filed 03/04/25      Page 10 of 81




a time-consuming and laborious process that defendants should not be forced to undertake in the

weeks before trial.

       In fact, even the latest productions still leave obvious gaps in Brady material, including,

for example, with respect to Dr. Atwater. Among the late-produced Brady materials was a letter

from Dr. Atwater’s counsel following Dr. Atwater’s meeting with he government, in which counsel

distanced Dr. Atwater from his own initial, exculpatory statements to the government because of

the prosecutor having “pointed out the government’s concern” and “explained it to him at the

proffer session,” leading to Dr. Atwater realizing the jeopardy he was in and offering to cooperate

fully with the government to protect himself. Even putting aside that the government did not

produce this letter until three years after its deadline, the most recent productions fail to provide

information about the statements prosecutors made to Dr. Atwater that apparently caused him to

dramatically change his story and decide that he should begin cooperating against the defendants.

While the results of the government’s pressure on Dr. Atwater are coming to light, the underlying

information about how the government applied that pressure remain undisclosed.

       More generally, given the enormous volume of late-disclosed Brady material that has

arrived in the last several weeks, defendants are now burdened with having to attempt to review,

analyze, and prepare to address all late-produced material, as they are also engaged in other, more

typical trial-preparation activities in the weeks before trial – an impossible task that they will not

be able to complete in time to make use of all the relevant (and exculpatory) material that they

should have been given far earlier. Indeed, as of this reply, defendants have not even been able to

get through all material produced before their motion for continuance, let alone the material

produced even more recently.

        Furthermore, in light of remaining gaps in productions and positions that the government




                                                  9
      Case 1:21-cr-10256-IT        Document 284-1         Filed 03/04/25      Page 11 of 81




has taken, and maintains even now, neither the defense nor the Court can conclude that the

government has fulfilled its Brady obligations. In a misguided effort to minimize its Brady

violations, the government’s opposition characterized some of the withheld material as mere

“whitepapers” or other forms of “attorney advocacy.” (ECF No. 266, at 2-8.) The prosecution

erroneously contends that if an unindicted co-conspirator flatly denies, directly or indirectly

through his counsel, that he or she participated in the charged conspiracy, that fact is somehow not

exculpatory or otherwise material to the defense. As discussed in defendants’ opening brief, the

prosecution has previously made that same baseless argument. The defense responded, (and in

both a discovery letter and their opening brief, cited) to cases holding that attorney proffers are

discoverable and, if exculpatory, Brady material. In its opposition, the government continues to

ignore relevant case law, citing instead two cases that ruled a witness could not be impeached at

trial by statements of an attorney. (ECF 266, at 6.) One of those cases, United States v. Cuevas

Pimental, 815 F. Supp. 81 (D. Conn. 1993), concerned Fed. R. Evid. 613(b), not Brady. Indeed,

the word Brady never appears in the decision. And SEC v. Arrowood, No. 14-CV-0082, 2014 U.S.

Dist. LEXIS 68669 (N.D. Ga. May 19, 2014), cited Cuevas Pimental without adding anything to

it. The issue on this motion, however, which the government does not meaningfully address, is

whether the defense was entitled to all of this exculpatory evidence, which the government has

possessed for years, so that it could conduct any necessary investigation and prepare for trial – and

if so, why the prosecution waited for years to produce it, in violation of Brady, the Federal Rules,

and this Court’s orders.

       “The customary remedy for a Brady violation that surfaces mid-trial is a continuance and

a concomitant opportunity to analyze the new information and, if necessary, recall witnesses.”

United States v. Mathur, 624 F.3d 498, 506 (1st Cir. 2010) (“the able district court, concerned about




                                                 10
      Case 1:21-cr-10256-IT         Document 284-1         Filed 03/04/25      Page 12 of 81




whether the late disclosure might inhibit that effort, went to great lengths to ensure that the

defendant had a full and fair opportunity to use the new material”). “A continuance affords time to

study the newly emergent information, consider its possible ramifications, change trial strategy (if

necessary), assess any potential prejudice, and determine how best to use the information.” United

States v. Sepulveda, 15 F.3d 1161, 1178 (1st Cir. 1993). While the length of a continuance from

late-produced Brady material and changes to a prosecution is case-specific, the defense should be

“given sufficient lead time to utilize the evidence effectively,” and “in cases of delayed disclosure,

a court’s principal concern must be whether learning the information altered the subsequent

defense strategy, and whether, given timeous disclosure, a more effective strategy would likely

have resulted.” United States v. Devin, 918 F.2d 280, 290 (1st Cir. 1990).

       The defense has created a record showing late and incomplete productions of substantial

Brady material by the government and the need for a continuance in fairness to the defendants. At

the outset of the case, the Court ordered the government to produce then-existing Brady material

by October 2021, along with warnings to the government of consequences for failure to do so. The

Court worked with the parties to identify a potential new start date for trial, July 21, 2025. Under

the circumstances, the government has failed to explain why such a continuance is not appropriate

to allow defendants to prepare their defense against whichever charges remain at the start of trial.

II.    Fundamental Fairness Requires that the Defendants Have Sufficient Time to
       Prepare Expert Testimony that Has Recently Emerged as Critical Based on the
       Government’s Latest Changes to the Charges.

       Defendants are entitled to retain and present expert testimony on issues that have arisen

based on late-Brady disclosures and the government’s changes to the charges. Expert witnesses

can provide important testimony in cases arising under Anti-Kickback Statute. In United States ex

rel. Witkin v. Medtronic, Inc., No. 1:11-CV-10790-IT, 2024 WL 1892405, at *15 (D. Mass. Mar.

31, 2024), this Court explained the role that expert testimony and surrounding circumstances can


                                                 11
      Case 1:21-cr-10256-IT        Document 284-1         Filed 03/04/25      Page 13 of 81




play for the defense, including opinions that bear on the fair value of payments compared to

supposed bribes, which can also bear on willfulness and conspiratorial intent issues:

               To the extent Medtronic attempts to question McNamara’s credibility
       generally and offers an expert who reaches a different conclusion, that is a
       determination for the trier of fact, not the court. “So long as an expert’s scientific
       testimony rests upon good grounds, based on what is known, it should be tested by
       the adversarial process, rather than excluded for fear that jurors will not be able to
       handle the scientific complexities.” Milward v. Acuity Specialty Prod. Grp., Inc.,
       639 F.3d 11, 15 (1st Cir. 2011) (internal quotation marks and citation omitted).
       “Vigorous cross-examination, presentation of contrary evidence, and careful
       instruction on the burden of proof are the traditional and appropriate means of
       attacking shaky but admissible evidence.” Id. (quoting Daubert v. Merrell Dow.
       Pharm., Inc., 509 U.S. 579, 596 (1993)). Thus, because resolution of this fair-
       market-value dispute would require the court to choose between the well-grounded
       opinions of competing experts, summary judgment is inappropriate on the issue.

Id. at *15. Such concerns for the proper functioning of the adversarial process and the implications

for depriving a party of the use of expert testimony, should weigh even more heavily in the context

of a criminal prosecution where defendants’ liberty is at stake.

       The recent changes in the government’s case, made as it reveals years-long Brady

violations, include its reduction of payments at issue from $2.4 million to only about $500,000,

based on the Indictment’s own allegations of payments. The target continues to move as the

government moved to dismiss yet another count, involving yet another surgeon, after defendants

filed their continuance motion. As defendants work to adjust to the new scope of the case, they

have also calculated that SpineFrontier’s revenue linked to the surgeons who supposedly received

“bribes” and who are the subject of the three remaining counts, appears to be under 7%, compared

to over 30% when all six substantive counts remained at issue. Thus, while the government

suggests that its “narrowing” of the case should only make things easier for defendants, this

“narrowing” has had a significant substantive effect on the nature of the allegations and the manner

in which defendants will defend themselves. In particular, the defense believes that expert

testimony can now play a critical role at trial, helping to establish that innovations from the


                                                12
       Case 1:21-cr-10256-IT        Document 284-1        Filed 03/04/25     Page 14 of 81




consulting program were far more valuable than the marginal sales, if any, that the government

now intends to link to the limited remaining alleged “bribes.” Enormous value created by

legitimate consulting work as compared to minimal marginal sales, if any, now at issue, speaks to

the defendants’ actual intent in using consultants for an intellectual property-driven business, and

is thus particularly important to mens rea issues that will be central to this case at trial. In the

limited time since the government has shifted its case from the charges in the Indictment –

including most recently by dismissing yet another count involving one particular surgeon –

defendants have worked to prepare their defense, including by identifying specific expert witnesses

who could be available to address value issues concerning more than 50 patents for the potential

new trial date of July 21, 2025, but the preparation of such analyses and testimony could not be

ready for the currently scheduled trial date.

        This Court should grant a continuance to allow defendants to pursue an effective defense

strategy for use of expert testimony that has recently become possible because of the government’s

substantial reduction, by more than 75%, of the total amount of payments at issue.

III.    An Evidentiary Hearing is Required to Address the Pattern of Brady Violations (and
        Ongoing Disclosures) and Improper Pressure by a Former AUSA and Other
        Government Agents on Fact Witnesses.

        The record on this motion, and ongoing disclosures and efforts by the government to

change the nature of the case, warrant an evidentiary hearing concerning how a mountain of Brady

material remained withheld so long and how multiple witnesses no longer support the charges. In

one of the few cases out there concerning comparable government misconduct, the court

emphasized the importance of its evidentiary hearing and what it revealed, and dismissed charges

albeit without prejudice:

        [T]he Government recommends almost a “harmless error” approach as a sanction
        for this egregious error, contending that no harsh remedy should follow because all
        underlying documents were finally produced to the defendants.


                                                13
Case 1:21-cr-10256-IT        Document 284-1         Filed 03/04/25     Page 15 of 81




 The Court rejects this notion. Absolutely no justification exists for revising
 documents that are being turned over to an adversary in litigation once the issue has
 been raised, particularly without notice of revision to the opposition … even though
 the effect of the alterations was minimal. Similarly, there is no justification for
 creating documents during this time period, without indicating so, no matter what
 the motive.

 The Government’s argument overlooks one critical consequence that would have
 resulted if the Government’s representations and the documents had been
 accepted at face value: there would have been no hearing, and the truth would
 have never been known. As tragic as are the events which transpired during the
 evidentiary hearing, it would have been even worse for the Court to have denied
 the defendants a hearing. The fact that all the relevant documents were finally
 produced only occurred because of the Omni defendants’ strenuous efforts.

                               *       *        *      *

 The Court is equally troubled by the consistent pattern of false testimony and lack
 of candor exhibited by various Government representatives who played prominent
 roles in this tax investigation. The details have already been recounted. This Court
 has considered carefully the large volume of disturbing testimony on a whole range
 of issues.

                               *       *        *      *

 Thus, in exercising the supervisory power entrusted to it to ensure the smooth and
 proper administration of justice, the Court has determined that the indictment
 should be dismissed. Twenty-eight days of hearings produced example after
 example of conduct unbecoming to the Government. Innocent misrecollection by
 witnesses is a common occurrence and is excusable, but the cumulative effect of
 the evidence presented here adds up to more than innocent misrecollection.
 Defendants should not be forced to conduct lengthy hearings to learn the basic
 essential facts needed as a predicate to a pretrial motion. Courts should not be
 forced to question whether government witnesses are testifying truthfully and fully.
 The Government’s conduct was patently egregious and cannot be tolerated or
 condoned. Its manner of proceeding shocks the Court’s conscience. The indictment
 must be dismissed as a prophylactic sanction for the consistent course of entrenched
 and flagrant misconduct. United States v. Birdman, 602 F.2d 547, 559 (3d Cir.1979),
 cert. denied, 444 U.S. 1032, 100 S.Ct. 703, 62 L.Ed.2d 668, 445 U.S. 906, 100 S.Ct.
 1084, 63 L.Ed.2d 322 (1980).

 …[T]he indictment will be dismissed without prejudice. Although defendants have
 certain rights which have been violated here, they have no concomitant right to bar
 forever investigation into their alleged criminal conduct. United States v. Lawson,
 502 F.Supp. at 172. The Court recognizes that the passage of time may have caused



                                           14
      Case 1:21-cr-10256-IT        Document 284-1         Filed 03/04/25      Page 16 of 81




       the statute of limitations to run as to certain tax years charged in the Indictment.
       This fact does not affect the decision to dismiss the Indictment without prejudice.

United States v. Omni Int’l Corp., 634 F. Supp. 1414, 1439-40 (D. Md. 1986). Here, the defendants

seek (at least at this time) the far less drastic remedies of a continuance to allow them adequate

time to adjust to significant changes in the case and to mountains of late-disclosed Brady

information, and an evidentiary hearing on the scope of and reasons for Brady issues. Pressure

tactics that the government employed when developing its case early on appear not to have worked

in the long run, at least concerning certain witnesses, or have combined with late Brady disclosures

to present unacceptable risks to the government, leading to efforts by the government to avoid

testimony by witnesses through the dropping of charges shortly before trial. When such odd

developments occur and only unravel shortly before trial, the Court should allow an evidentiary

hearing to avoid a situation in which the truth would “never be known.” Id.

                                            Conclusion

       For the reasons set forth herein, defendants respectfully request that the Court allow this

motion and continue the March 17, 2025 trial date in this matter until July 21, 2025, the date for

which all parties have confirmed their availability. Defendants also respectfully request that an

evidentiary hearing be held (and suggest it could be held on March 17, 2025, in lieu of the currently

scheduled start of jury selection), to address whether the government’s concealment of Brady

issues, combined with threats and pressure on fact witnesses, amount to outrageous government

conduct that warrants dismissal.




                                                 15
      Case 1:21-cr-10256-IT         Document 284-1         Filed 03/04/25      Page 17 of 81




                                               Respectfully submitted,

                                               KINGSLEY CHIN

                                               By his attorneys,

                                               /s/ Joshua Solomon
                                               Barry S. Pollack (BBO #642064)
                                               Joshua L. Solomon (BBO #657761)
                                               POLLACK SOLOMON DUFFY LLP
                                               31 St. James Avenue, Suite 940
                                               Boston, MA 02116
                                               (617) 439-9800
                                               bpollack@psdfirm.com
                                               jsolomon@psdfirm.com

                                               ADITYA HUMAD

                                               By his attorneys,

                                               /s/ William Fick
                                               Daniel N. Marx (BBO #674523)
                                               William W. Fick (BBO #650562)
                                               FICK & MARX LLP
                                               24 Federal Street, 4th Floor
                                               Boston, MA 02110
                                               (857) 321-8360
                                               dmarx@fickmarx.com
                                               wfick@fickmarx.com

                                       Certificate of Service

        I, William W. Fick, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) on March 4, 2025.

                                                       /s/ William W. Fick




                                                 16
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 18 of 81




                         EXHIBIT A
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 19 of 81




                                                                 USAO_0007315
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 20 of 81




                                                                 USAO_0007316
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 21 of 81




                                                                 USAO_0007317
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 22 of 81




                                                                 USAO_0007318
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 23 of 81




                                                                 USAO_0007319
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 24 of 81




                                                                 USAO_0007320
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 25 of 81




                                                                 USAO_0007321
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 26 of 81




                                                                 USAO_0007322
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 27 of 81




                                                                 USAO_0007323
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 28 of 81




                                                                 USAO_0007324
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 29 of 81




                                                                 USAO_0007325
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 30 of 81




                                                                 USAO_0007326
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 31 of 81




                         EXHIBIT B
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 32 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 33 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 34 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 35 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 36 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 37 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 38 of 81




                          EXHIBIT C
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 39 of 81




                                                                 USAO_0007344
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 40 of 81




                                                                 USAO_0007345
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 41 of 81




                                                                 USAO_0007346
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 42 of 81




                                                                 USAO_0007347
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 43 of 81




                                                                 USAO_0007348
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 44 of 81




                                                                 USAO_0007349
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 45 of 81




                                                                 USAO_0007350
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 46 of 81




                                                                 USAO_0007351
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 47 of 81




                                                                 USAO_0007352
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 48 of 81




                                                                 USAO_0007353
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 49 of 81




                                                                 USAO_0007354
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 50 of 81




                                                                 USAO_0007355
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 51 of 81




                         EXHIBIT D
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 52 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 53 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 54 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 55 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 56 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 57 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 58 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 59 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 60 of 81




                          EXHIBIT E
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 61 of 81




                                                                 USAO_0007462
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 62 of 81




                                                                 USAO_0007463
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 63 of 81




                                                                 USAO_0007464
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 64 of 81




                                                                 USAO_0007465
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 65 of 81




                                                                 USAO_0007466
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 66 of 81




                                                                 USAO_0007467
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 67 of 81




                                                                 USAO_0007468
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 68 of 81




                                                                 USAO_0007469
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 69 of 81




                                                                 USAO_0007470
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 70 of 81




                                                                 USAO_0007471
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 71 of 81




                                                                 USAO_0007472
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 72 of 81




                                                                 USAO_0007473
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 73 of 81




                                                                 USAO_0007474
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 74 of 81




                           EXHIBIT F
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 75 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 76 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 77 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 78 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 79 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 80 of 81
Case 1:21-cr-10256-IT   Document 284-1   Filed 03/04/25   Page 81 of 81
